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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA

IN RE: COURT OPERATIONS UNDER
THE EXIGENT CIRCUMSTANCES                               GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                            Eleventh Amendment
CORONAVIRUS

                                      ORDER

      General Order 20-01, dated March 16, 2020, as amended by Orders dated

March 30, 2020; Aprit 30, 2020; May 26, 2020; July 1,2020; July 10, 2020; August

3, 2020; September 1, 2020; September 28, 2020, December 8, 2020, atid Janitaty

27, 2021, addresses Court operations for the United States District Court for the

Northern District of Georgia under the exigent circumstances created by the

coronavirus pandemic and the spread of COVID-19. The Tenth Amendment to

General Order 20-0 1, entered January 27, 2021, extended the time periods specified

in the Order through and including April 4, 2021.

      In anticipation of the expiration of its Tenth Amendment to General Order 20-

01, the Court again considets whether national, state, and local COVJD-19

conditions have sufficiently improved to permit the safe resumption of federal july

trials within the Northern District’s courthouses. The Court notes first the continued

f:orable national and local downward trends in both the daily COVID-l9 infection

rates and test positivity rates from the extremely high rates experienced in January.
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The Court also notes the steadily incteasing numbers of people receiving COVII)—

1 9 vaccines throughout the United States and in Georgia, the increasing rate of

vaccinations, the recent emergency approval of another COVJD-19 vaccine, and the

increase in the allocations of the vaccines. While still in Phase la+ of its vaccination

program, Georgia has now expanded that phase to include teachers.

       While the decline in infection rates and increase in vaccinations are extremely

significant and positive developments in the progress against COVID-19, the daily

infection and test positivity rates remain at a very high level in comparison to the

historic numbers throughout the pandemic. Some concern has been expressed that

the infection rates may now be leveling at a high number rather than continuing to

decrease. At the beginning of March, Georgia’s 7-day daily average for new cases

of COVID-19 was reported at 2,871 with a 14-day average positivity rate greater

than 1 2 percent.

      SimilarLy, while both the number and rate of persons vaccinated in the United

States continue to increase, the Centers for Disease Control and Prevention recently

reported that only approximately 15.9% of the United States’ population has

received at least one dose of the COVID- 19 vaccine and only 8.1% have received

both doses. In Georgia the numbers vaccinated are lower with oniy 12% of the

population receiving at least one dose and 7.3% receiving both doses. Given the
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current status ot Georgia’s vaccine rollout, it still appears to the Court that it could

he several weeks or longer before vaccines are avaiLable to the general public.
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      Conditions at the district level remain unfavorable, with many of the district’s

counties among the top counties for reported new cases, especially those in the

greater metropolitan area, but also some more rural counties.

       In its last Amendment the Court noted at least six cases of the COVID-19

variant strain had been identified in Georgia. The Centers for Disease Control and

Prevention now reports the number at 137 cases, although the potential impact of the

variants on the rate of transmission of the disease in Georgia, if any, remains

unknown.

      As noted in previous Orders, the President’s declaration of a national

emergency under the National Emergencies Act (50 U.S.C.         §   1601 et seq.) due to

COVID-19 has not changed nor have the findings of the Judicial Conference of the

United States that emergency conditions due to this national emergency have

materially affected and will materially affect the functioning of the federal courts

generally.

      As stated in our previous amendments, the Court has suspended jury trials in

the hope that COVID-19 could be contained, and its threat eliminated. Despite

months of intense preventative measures, however, the significant threat presented

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by COVII)— 19 within the United States, Georgia, and the district   continues.   While

the implementation of the vaccinations and the recent emergency approval of an

additional vaccine represent significant progress in the fight against COVID-19, the

Court reluctantly concludes that current circumstances do not yet allow it to safely

resume jury trials. As a result of the continuing high rates of infection and the low

percentage of people vaccinated, the Court concludes that before jury trials may be

safely resumed, another month is needed to allow for a further decline in the

infection rate within the district and for a further increase in the number of people

vaccinated. Assuming the favorab]e trends continue in both critical areas, the

Court anticipates that it will be able to resume jury trials more safely in May

and intends to do so absent unforeseen developments.

      As with its previous suspension of jury trials, the Court concludes that a

further suspension will allow conditions within the district to sufficiently improve

so that counsel can adequately prepare for trial, and the health and safety of the

public, those appearing before the Court, and the Court itself can be adequately

safeguarded. Significantly, extension of the suspension of jury trials also will allow

greater numbers of the bench, bar, and public to receive the COVID-19 vaccine

before jury trials resume.




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      Therefore, IT IS HEREBY ORDERED that General Order 2t)-0l, as

amended, is further amended to extend the time periods specified therein through

and including the date of May 2, 2021.

       IT IS FURTHER ORDERED that while there will be no civil or criminal

jury trials in any division of the Northern District of Georgia until after May 2, 2021,

grand jurors may continue to be summoned and grand             jury   proceedings may

continue to be held; and summonses may be issued to prospective jurors for civil

and criminal jury trials scheduled to begin after May 2, 2021.

       IT IS FURTHER ORDERED that the time period of any continuance

entered as a result of this Order (whether that continuance causes a pre-indictment

delay or a pre-trial delay) shall be excluded under the Speedy Trial Act, 18 U.S.C.    §
3 161 (h)(7)(A), as the Court finds that the ends ofjustice served by taking that action

outweigh the interests of the parties and the public in a speedy trial. Absent further

Order of the Court or any individual judge, the period of exclusion shall be from

March 23, 2020, through and including May 2, 2021. The Court may extend the

period of exclusion as circumstances may warrant. This Order and period of

exclusion are incorporated by reference as a specific finding under 18 U.S.C.         §
3 161 (h)(7)(A) in the record of each pending case where the Speedy Trial Act applies.

See Zedner v. United States, 547 U.S. 489, 506-07 (2006). The periods of exclusion
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in the Court’s   prior   Orders on this subject, General Order 20-0 1 and its subsequent

amendments, are likewise incorporated by reference as a specific finding under 1 $

U.S.C.   § 3 161(h)(7)(A) in the record of each pending case where the Speedy Trial
Act applies.



         SO ORDERED this          ‘   day of March 2021.




                                      THOMAS W. THRASH, JR.
                                      CHIEF UNITED STATES DISTRICT JUDGE




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